                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA


UNITED STATES OF AMERICA                               )
                                                       )       Case No. 1:13-cr-28
                                                       )
v.                                                     )
                                                       )       MATTICE / LEE
ASHLEY PARKER-CASSEL                                   )

                                             ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the three-count

Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense of the charge in Count

One, that is of conspiracy to manufacture and distribute methamphetamine (actual), a Schedule II

controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C); (3) adjudicate

Defendant guilty of the lesser included offense of the charge in Count One, that is of conspiracy to

manufacture and distribute methamphetamine (actual), a Schedule II controlled substance, in

violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C); (4) defer a decision on whether to accept

the plea agreement until sentencing; and (5) Defendant shall remain in custody until sentencing in

this matter [Doc. 47]. Neither party filed a timely objection to the report and recommendation. After

reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation

[Doc. 47] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw her not guilty plea to Count One of the Indictment

               is GRANTED;




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      (2)   Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

            that is of conspiracy to manufacture and distribute methamphetamine (actual), a

            Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and

            841(b)(1)(C) is ACCEPTED;

      (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

            in Count One, that is of conspiracy to manufacture and distribute methamphetamine

            (actual), a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846,

            841(a)(1), and 841(b)(1)(C);

      (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

            and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on Monday, August 5, 2013 at 9:00 a.m. before the

            Honorable Harry S. Mattice, Jr.

      SO ORDERED.

      ENTER:


                                                       /s/Harry S. Mattice, Jr.
                                                       HARRY S. MATTICE, JR.
                                                  UNITED STATES DISTRICT JUDGE




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